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VIA CM/ECF AND ELECTRONIC MAIL

The Honorable Richard J. Sullivan
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2104
New York, New York 10007
E-mail: SullivanNYSDChambers@nysd.uscourts.gov

Re:    Gucci America, Inc., et al. v. Weixing Li, et al., No. 2010 Civ. 4974 (RJS)

Dear Judge Sullivan:

Pursuant to this Court’s request, I write on behalf of Plaintiffs regarding Bank of China’s
(“BOC”) production of documents today that “BOC believes, following a reasonable
search … contains all non-privileged documents responsive to” Plaintiffs’ 2010 and 2011
subpoenas (“Subpoenas”). Letter from L. Hall, Jan. 20, 2016.

Plaintiffs today received from BOC a link to a secure site that appears to host a production of
approximately 5,400 files, totaling roughly 7,200 pages, which are in the process of being
downloaded. Plaintiffs are not yet in a position to comment on whether BOC has
substantially complied with this Court’s order, and will provide an update to the Court as
soon as possible once we have had an opportunity to translate and review these Chinese-
language documents.

In addition, BOC has indicated that it may have withheld otherwise responsive documents on
privilege grounds. See, e.g., ECF 192 (“BOC has collected and intends to produce … all
non-privileged documents responsive to the Subpoenas ….” (emphasis added)); ECF 194
(“BOC has delivered to plaintiffs’ counsel all non-privileged documents responsive to the
Subpoenas ….” (emphasis added)). BOC has not yet disclosed the nature of any documents
over which it purports to assert privilege or the basis of that assertion. Moreover, Plaintiffs
reserve the right to take the position that BOC has waived any privilege claims over
documents responsive to the Subpoenas due to its failure to assert those privileges and
provide a privilege log in a timely manner. See Fed. R. Civ. P. 45(e)(2)(A); S.D.N.Y. Local
Civ. R. 26.2(b). Plaintiffs believe the proper course would be to report back to the Court on
all of these issues once Plaintiffs have reviewed the production and any privilege log BOC
intends to produce.
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Respectfully submitted,

/s/ Robert L. Weigel

Robert L. Weigel
Counsel to Plaintiffs


cc: Counsel to Bank of China
